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       District 4

    Population Statistics                      Ethnicity                    Voter Statistics

Town of Amherst                  9,324   White                  78,897   Registered Voters     56,909
Town of Clarence                30,673   % White               94.41%
Town of Lancaster               34,940   Black                   1,013   Democrats             19,235
Town of Newstead                 8,594   % Black                1.21%    Republicans           22,528
Tonawanda Reservation               34   American Indian           233   Conservatives          1,267
                                         % American Indian      0.28%    Working Families         173
Total Population                83,565   Asian                   2,331   Independence           2,750
Deviation                           16   % Asian                2.79%    Green                    112
% Deviation                    0.00019                                   Other                    523
                                         Hispanic Origin         1,149   Blank                 10,321
Age 18+                         63,016   % Hispanic Origin      1.37%
                                                                         Male                  26,924
                                         Black 18+                 729   Female                29,985
                                         % Black 18+            1.16%
                                         Hispanic Origin 18+       661   Age 18 - 24            5,178
                                         % Hispanic 18+         1.05%    Age 25 - 34            6,487
                                                                         Age 35 - 40            4,966
                                                                         Age 41 - 45            5,988
                                                                         Age 46 - 54           11,917
                                                                         Age 55 - 61            7,397
                                                                         Age 62+               14,976

                                                                         Federal Voters           77
                                                                         Military Voters          70
                                                                         Disabled                580
                                                                         Nursing Home            332

                                                                         Voted 2007 Election   23,739
                                                                         Voted 2009 Election   15,050
